     Case 9:17-cv-00050-DLC-JCL Document 82 Filed 04/23/18 Page 1 of 3



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Attorneys for Defendant,
Andrew Anglin

                    UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                            MISSOULA DIVISION

                                      )
TANYA GERSH,                          )   Case No. 9:17-cv-50-DLC-JCL
                                      )
             Plaintiff,               )
                                      )      NOTICE OF CHANGE
       vs.                            )         OF ADDRESS
                                      )
ANDREW ANGLIN,                        )
                                      )
             Defendant.               )
                                      )
      Case 9:17-cv-00050-DLC-JCL Document 82 Filed 04/23/18 Page 2 of 3



                     NOTICE OF CHANGE OF ADDRESS
       Attorney Marc J. Randazza of Randazza Legal Group, PLLC, hereby files
this Notice of Change of Address in the above-captioned case. It is respectfully
requested that all future pleadings, motions, correspondence, and other papers be
sent to:

                      RANDAZZA LEGAL GROUP, PLLC
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                           Las Vegas, Nevada 89117


       Dated: April 23, 2018.             Respectfully submitted,
                                          /s/ Marc J. Randazza
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                                            -1-
                                Notice of Change of Address
                                   9:17-cv-50-DLC-JCL
     Case 9:17-cv-00050-DLC-JCL Document 82 Filed 04/23/18 Page 3 of 3




                                                     Case No. 9:17-cv-50-DLC-JCL

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 23, 2017, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I further certify

that a true and correct copy of the foregoing document being served via transmission

of Notices of Electronic Filing generated by CM/ECF.

                                       /s/ Marc J. Randazza
                                       Marc J. Randazza




                                         -2-
                             Notice of Change of Address
                                9:17-cv-50-DLC-JCL
